In re

Case 10-14831 Doc7 Filed 03/09/10 Page 1 of 1

 

United States Bankruptcy Court Tw 7PAaO 7
ote oh V2 2 yo ens
District of Maryland -
Samuel Green Case No.
Debtor(s) Chapter_7

 

Address:
2700 Roslyn Avenue
Baltimore, MD 21216
Social Security No(s).: XxOCXx-5685
Joint Debtor:

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER

1. Under 11 U.S.C. § 110(h), I declare under penalty of perjury that 1 am not an attorney or employee of an attorney, that I
prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to
be paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows:

For document preparation services, I have agreed to aCCept 0... essscesstssssseseesesesesessssssssreneees $ 299.00
Prior to the filing of this statement I have received ..........cccscssecsesessressssestseseesseseesetseneaceeesecesenees $ 299.00
Balance Due ....c.eeescssssssssssescsssssssssssssssssesescsesssssssessncssscesecssseseassceenensssessscsssqseaescuqucueasanacavasaeaseesesserses $ 0.00

2. Ihave prepared or caused to be prepared the following documents (itemize):
and provided the following services (itemize):

3. The source of the compensation paid to me was: XX__ Debtor Other (specify)

4. The source of the compensation to be paid to me is: XX__ Debtor Other (specify)

5. The foregoing is a complete statement of any agreement for payment to me for preparation of the petition filed by the
debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy

x

| Wh. , I

“4 Vy
Nfl

ee ATA mt 3
522078026 : :

Social Security Number

case except as listed below:
NAME SOCIAL SECURITY NUMBER

DECLARATION OF BANKRUPTCY PETITION PREPARER
f perjury that the foregoing is true and correct to the best of my knowledge, information, and belief.

f-2%-04

Date

Platinum Agency Inc.

 

 

Name (Print) mr

40 S.Carrollton Avenue Ss 3 m9
Baltimore, MD 21223 “
Address

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines of imprisonment or both.

11 U.S.C. § 110; 18 U.S.C. § 156.
